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 6
 7
 8                         UNITED STATES DISTRICT COURT
 9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11 TIMOTHY P. DEMARTINI, et al,              Case No.: 2:14-CV-02722-JAM-CKD
12                     Plaintiffs,           DEFENDANTS’ PRETRIAL STATEMENT
13                         v.                Pretrial: September 15, 2017
                                             Time: 10:00 a.m.
14 MICHAEL J. DEMARTINI, et al,              Courtroom: 6
                                             Judge: Hon. John A. Mendez
15                     Defendants.           Trial: October 23, 2017
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 1                               PRETRIAL STATEMENT
 2         Defendants Michael DeMartini and Renate DeMartini
 3 (“Defendants”) submit the following pretrial statement:
 4                             I.    JURISDICTION/VENUE
 5         Jurisdiction is predicated upon 28 U.S.C. § 1332, diversity
 6 of citizenship, and has previously been found to be proper by
 7 Order of this Court.        Plaintiffs’ motion to amended plaintiffs’
 8 complaint brought diversity jurisdiction into question in regards
 9 to one of plaintiffs’ claims which was severed and remanded on
10 June 1, 2017, which Order is currently pending review by the
11 Ninth Circuit Court of Appeals.
12                               II.    JURY/NON-JURY
13         Defendants have demanded a jury trial.
14                            III.     UNDISPUTED FACTS
15         The September 3, 2015 Status (Pretrial Scheduling) Order of
16 this Court stated “Notwithstanding the provisions of Local Rule
17 281, which contemplates the filing of separate Pretrial
18 Statements by plaintiffs and defendants, the parties are to
19 prepare a JOINT STATEMENT with respect to the undisputed facts
20 and disputed factual issues of the case.” ECF No. 69, p. 3:20-22.
21 Plaintiffs state that both attorneys for plaintiffs “will be
22 unavailable on September 15 due to pre-paid vacations.”
23 Defendants have been inquiring of plaintiffs since at least
24 August 17, 2017 as to “Regarding Eastern District of California
25 Case 2:14-CV-02722-JAM-CKD, who is handling or responsible for
26 meet and confers and the pre-trial conference.”              As of September
27 1, 2017 defendants have no record of receiving any response
28 whatsoever.



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 1                         IV.   DISPUTED FACTUAL ISSUES
 2         The September 3, 2015 Status (Pretrial Scheduling) Order of
 3 this Court stated “Notwithstanding the provisions of Local Rule
 4 281, which contemplates the filing of separate Pretrial
 5 Statements by plaintiffs and defendants, the parties are to
 6 prepare a JOINT STATEMENT with respect to the undisputed facts
 7 and disputed factual issues of the case.” ECF No. 69, p. 3:20-22.
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 9 unavailable on September 15 due to pre-paid vacations.”
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11 August 17, 2017 as to “Regarding Eastern District of California
12 Case 2:14-CV-02722-JAM-CKD, who is handling or responsible for
13 meet and confers and the pre-trial conference.”              As of September
14 1, 2017 defendants have no record of receiving any response
15 whatsoever.
16                        V.   DISPUTED EVIDENTIARY ISSUES
17         Defendants do not anticipate any disputes.
18            VI.   SPECIAL FACTUAL INFORMATION IN CERTAIN ACTIONS
19         Defendants’ second counterclaim for relief is breach of the
20 partnership agreement.
21        A. The parties' respective versions of the terms of the
22 contract: Plaintiffs have admitted that there is a partnership,
23 but in this case plaintiffs have taken all kinds of varying
24 positions on this; therefore, at present Defendants do not know
25 what plaintiffs’ version of the terms are.            Defendants version of
26 the terms of the formation and partnership is that:
27         In or about 1974 or 75 Timothy DeMartini (“Timothy” or
28 “Tim”) and Michael DeMartini (“Michael”) entered into an oral



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 1 partnership agreement to pool resources to establish and operate
 2 a variety of businesses, including such things as land
 3 development, building, automobile repair and sales.             An exhibit
 4 of a check made to Tim DeMartini dated August 8, 1975, as the
 5 payee will be presented.
 6         At the time of the oral agreement Timothy was a resident of
 7 California and Michael was a resident of Nevada.             The oral
 8 agreement took place in Nevada County, California.             There were no
 9 special terms, waivers or other complexities in the agreement.
10 It was merely an agreement to do business together with
11 understood loyalty and things that go along with it.
12         At all relevant times defendants were residents of Nevada.
13         Plaintiffs were residents of Nevada for around a year and a
14 half in or around 1975.         Prior to that, and presently, Plaintiffs
15 were and are residents of California.
16         The oral agreement was renewed when plaintiffs moved to
17 Nevada and on a yearly basis thereafter.
18         James P. DeMartini (Timothy and Michael’s father) joined the
19 partnership in 1977.        A copy of the 1977 DeMartini Company income
20 tax return showing Timothy as a partner will be presented as an
21 exhibit.
22         On or about 1977 the oral agreement was modified such that
23 Michael would provide more funding and educational expertise into
24 the partnership and Timothy would provide more work and spend
25 more time, but contribute less capital.            A copy of the 1978
26 DeMartini & Sons income tax return will be presented as an
27 exhibit.
28         The initial partnership name was DeMartini Company.             A



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 1 partnership bank account was established under that name on or
 2 before July 1977 at the Gold County Bank in Grass Valley, CA.
 3 Two checks made to DeMartini Company as the payee, dated April
 4 25, 1978 and July 20, 1977, will be presented as an exhibit.
 5         Each and every year after around 1974 or 75 Timothy and
 6 Michael would meet and/or discuss the operations of the
 7 partnership businesses and make decisions relating thereto.
 8         Defendant Michael alleges that from time to time the oral
 9 partnership agreement with Timothy was adjusted as the need be to
10 adjust for different businesses, conditions and participation
11 arrangements and even compensation for extraordinary services by
12 partners.
13         Timothy and Michael’s father, James P. DeMartini, passed
14 away in 1983, and Timothy and Michael agreed to continue the oral
15 partnership and the partnership paid off the estate equity over
16 the next number of years according to trustees Timothy DeMartini,
17 James C. DeMartini, and the accountant.
18         The partnership between Michael and Timothy continued as
19 previously alleged herein.         A copy of a design/build lease for a
20 new industrial building dated December 10, 1985 and signed by the
21 partnership will be presented as an exhibit.
22         At all relevant times from 1974 until the present, the
23 partnership agreement was that Michael, Timothy and other
24 partners agreed to share in the profits and losses of the
25 businesses.
26         In about 2005 the partnership found out that the filing of a
27 fictitious name was necessary for two of the partnership names
28 based upon the advice of the partnership attorney, P. Scott



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 1 Browne, who was retained regarding potential litigation with the
 2 partnership and a third party.          The partners agreed in 2006 that
 3 the two required fictitious names were to be published and filed
 4 in Sacramento County, California because at the time the chief
 5 executive office of the partnership was in Reno, Nevada.                This
 6 was done in Sacramento County, California and endorsed. A copy of
 7 the November 1, 2006 and May 5, 2014 fictitious business name
 8 statements will be presented as an exhibit.
 9         In or about 2013 Timothy DeMartini confirmed two general
10 partnership bank accounts at Westamerica Bank.               A copy of the
11 Westamerica Bank document will be presented as an exhibit.                A
12 copy of the Westamerica Bank partnership signature card dated
13 December 12, 1994 showing that it supersedes the card dated
14 December 11, 1985 will be presented as an exhibit.              A copy of the
15 DeMartini Brothers Construction 1986 balance sheet and tax
16 documents will also be presented as exhibits.
17         Some assets associated with the partnership include, but are
18 not limited to, the Coan Ranch properties, Maltman Drive
19 property, Main Street property, 625 Idaho Maryland Road property,
20 12731, 12757, 12759 and 12761 Loma Rica Drive, and the expansion
21 of the various businesses that have developed over the many years
22 between the partners, including purchasing and development of the
23 Coan Ranch and other businesses including the Auto and
24 Recreational Vehicle Sales and Service business.
25         Defendants have performed all conditions, covenants, and
26 promises required to be performed on defendants part in
27 accordance with the terms and conditions of the partnership
28 agreement as the agreement was modified from time to time and



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 1 place to place.
 2        B. Whether the contract and any modifications or collateral
 3 agreements were written or oral or both, specifying any document,
 4 letter, or other writing relied upon by date and parties, and
 5 indicating any oral agreement relied upon by date, place, and
 6 parties: In this case the version of agreement above overlaps
 7 with this part.
 8        C. Any misrepresentation of fact, mistake, or other matter
 9 affecting validity: None known.
10        D. Any breach of contract: Plaintiffs have breached the
11 agreement and continue to do so by claiming that the partnership
12 or parts of it do not exist, competed with the partnership,
13 breached the duty of loyalty and trust, and squeezed defendants
14 out of defendants right to manage or participate in the
15 partnership.
16         Two of the partnership names require filing of fictitious
17 names which are “DeMartini & Sons” and “DeMartini Brothers
18 Construction”.       The fictitious names were on file in Sacramento
19 County, California since 2006 at which time all partners agreed
20 to the filing.       On or around April 9, 2014 Timothy had these
21 fictitious names abandoned without notice to, or approval by,
22 Michael or Renate.        Timothy is no more than a 50% partner and
23 thereby his conduct breached the partnership agreement.
24         In or around the middle of 2014 Timothy terminated the
25 services of the long time partnership accountant, Douglas
26 Johnson, of Reno, Nevada without Michael's knowledge and without
27 a majority vote of the partnership which was required by the
28 partnership agreement.



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 1         On or about May 2014 Plaintiffs breached the contract with
 2 Defendants by diverting partnership funds held in the DeMartini
 3 Brothers' Construction Company account at Westamerica Bank, Grass
 4 Valley, California to Plaintiffs' personal account.             Thereafter
 5 Plaintiffs closed the Westamerica account causing the checks
 6 written by Defendants to bounce, which included checks for fire
 7 alarm services relevant to partnership property.             The partnership
 8 agreement required a majority approval and therefore Plaintiffs
 9 breached the partnership agreement.
10         The agreement allowed for a partnership office that
11 Defendants could utilize for partnership business.             On or around
12 May 8, 2014 Timothy admitted that he had the partnership office
13 at 12731a Loma Rica Drive cleaned out including Michael's
14 personal desk, belongings, and files without Michael’s
15 permission, and therefore that was a breach of the partnership
16 agreement.
17         The agreement allowed for another partnership office that
18 Defendants could utilize for partnership business at 625 Idaho
19 Maryland Road in Grass Valley, California, on the mezzanine level
20 of the building on the west side above Timothy’s office which
21 Timothy also precluded Michael from using which is a breach of
22 the partnership agreement.
23         On or around May 12, 2014 Timothy refused to allow the
24 partnership to develop the previously agreed and acquired (1982)
25 Nevada property.       Timothy further restricted Michael from
26 obtaining any loans in the partnership name (there was never any
27 such agreement that any general partner would be restricted).
28 Further, Timothy demanded that Michael pays him $72,000 in the



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 1 next couple weeks.
 2      On or around August 28, 2014 Timothy removed Michael's
 3 private belongings from the sleeping quarters at 12759a Loma Rica
 4 Dr. without Michael's permission and in violation of the written
 5 agreements to not do so and also in violation of the
 6 recommendations of the Nevada County Sheriff's office deputy.
 7 The partnership agreement gave first priority to occupancy by
 8 partners over strangers and therefore the removal was also a
 9 breach of the partnership agreement.
10      The agreement required that leases be in the name of the
11 partnership entity for the prior about 38 years.          In or around
12 2013 to the present Timothy breached the partnership agreement by
13 entering into leases of partnership property in names other than
14 that of the partnership.
15      The partnership agreement required a majority approval to
16 undertake building renovations.       In or around 2014 Plaintiffs
17 engaged in building renovations without approval of the majority
18 and to the express disapproval of Defendants thereby breaching
19 the partnership agreement.
20      Timothy has breached his fiduciary duty to Michael by
21 claiming that by virtue of Timothy being a trustee of the estate
22 that Timothy is effectively a two-third voting partner and that
23 Michael and/or Renate are only a combined one-third partner.          By
24 virtue of this Timothy has breached the partnership agreement and
25 Timothy is claiming that he has full control of the partnership
26 business.
27      Plaintiffs further breached the partnership agreement by
28 breaching the fiduciary duty owed to Defendants as set forth



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 1 below:
 2      At all relevant times Plaintiffs owed a fiduciary duty to
 3 Defendants by virtue of the partnership agreement and partnership
 4 relationship.
 5      In addition Timothy owed a fiduciary duty to Michael from
 6 and after 1983 by virtue of the fact that Timothy was appointed
 7 as executor and trustee of the estate of James P. DeMartini and
 8 Thelma DeMartini.    The estate of James P. DeMartini had an
 9 interest in the partnership at the time of his passing in 1983.
10      In the recent past Timothy started retaliating against
11 Michael and Renate by implementing an organized plan insidiously
12 to squeeze out and eliminate Michael and Renate from the
13 partnership, its benefits, and opportunities, because Michael and
14 Renate were pursuing a protected right in an unrelated court
15 action that Timothy and others didn't agree with.
16      On or around May 23, 2013, Timothy, his agents and/or
17 associates, contacted Mr. James Gates of Nevada County Free Ranch
18 Beef with threats and other things pertaining to Michael's
19 conduct and honesty thereby interfering with Michael's contract
20 with Mr. Gates who then defaulted on the contract for that
21 reason.
22      On or around September 1, 2013, Timothy sent an email to six
23 others stating that Michael doesn't know what he is talking about
24 with regard to the electrical investigation at 13298 Newtown Rd.,
25 Nevada City, California.
26      On or around March 17, 2014, Timothy notified Michael that
27 Timothy refuses to renew the Westamerica Bank loan (that was
28 contrary to normal practice) and refused to allow Michael to talk



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 1 with the bank.    Timothy further refused to allow the partnership
 2 to obtain additional partnership property that was available at a
 3 bargain price that was adjacent to other partnership property.
 4      On or around May 1, 2014 Timothy notified Michael that he
 5 will not communicate with Michael because of previous and pending
 6 protected activities.     Timothy restricted Michael from setting
 7 foot on the partnership related property at 625 Idaho Maryland
 8 Rd., Grass Valley, California.
 9      On or around May 8, 2014 Timothy refused to allow Michael to
10 participate in the management of the 12731 Loma Rica Drive
11 property and Timothy made deals with the tenants and contractors
12 personally outside the partnership.
13      On or around May 11, 2014 Timothy sent an email to six
14 others stating that Michael is refusing to do anything regarding
15 the management of a property on Catherine Ln, Grass Valley,
16 California.
17      On or around May 12, 2014 Timothy refused to communicate on
18 partnership matters except through intermediaries.
19      On or around May 16, 2014 Timothy refused again to renew the
20 partnership bank loan (5 or 6% annual interest) and instead said
21 Timothy will pay it off himself and charge Michael (and other
22 partners) 12% annual interest.
23      On or around June 23, 2014 Timothy refused to accept a check
24 for monthly loan payment of $983.03 from the partnership account.
25 (The partnership had been paying the loan payments to the banks
26 from the partnership assets for the last 38 years)
27      On or around June 27, 2014 Timothy refused to agree with
28 retaining a partnership attorney and instead demanded that his



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 1 personal attorneys be used as an intermediary for all partnership
 2 communications with Renate and Michael.
 3        On or around July 18, 2014 Timothy admitted to delivering
 4 partnership communications and letters in unmarked envelopes
 5 through 3rd parties to Michael rather than the normal accepted
 6 and agreed upon methods.     This was unnecessary, degrading and
 7 humiliating to Michael.
 8        On or around July 18, 2014 Timothy again refused to accept a
 9 check for monthly loan payment of $983.03 from the partnership
10 account.
11        On or around July 18, 2014 Timothy and Margie refused to
12 communicate partnership matters except through Timothy's personal
13 representative. (Michael previously noted that that
14 representative was unacceptable to Michael because of partnership
15 confidentiality concerns).
16        On or around August 27, 2014 Timothy demanded a tow truck
17 driver and the owner of a tow truck company to extend the
18 hydraulic ram knife edge toward Michael to cut off his feet at
19 the ankles.
20        In or around 2014 Timothy stopped payment on partnership
21 checks tendered by Michael to pay the partnership AT&T fire alarm
22 phone bill whereby, for partnership benefit, Michael used his
23 personal account for the partnership phone to avoid the large
24 deposit required.    Timothy stopped payment knowingly and
25 maliciously after Michael notified him of what the checks were
26 for.    As a result of Plaintiffs’ conduct, for the last several
27 years Michael's credit has been lost with AT&T and Michael has
28 had to pay each payment to AT&T with cash for those phone lines.



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 1      In or around the middle of 2014, Timothy with a 9mm gun,
 2 discharged it with the intention to scare or injure Michael's
 3 cattle at 13298 Newtown Rd., Nevada City, California.          Ultimately
 4 the spooked cattle were found to be at large and impounded by
 5 Animal Control of the Nevada County Sheriff's Office.           Michael
 6 had to pay the impound fee and transportation for their release.
 7     E. Any waiver or estoppel: Plaintiffs have participated in
 8 the partnership for years, up until the filing of the suit, and
 9 have had 50% of the net income distributed to them.
10     F. The relief sought (rescission, restitution, damages for
11 breach, specific performance, etc.): damages for breach, specific
12 performance, that plaintiffs compensate defendants for lost
13 rents, profits, and business value; and that defendants be
14 entitled to continue a sub-portion or all of the relevant
15 businesses of the partnership with the related assets based upon
16 an equitable accounting.
17     G. The measure of restitution or damages and an itemized
18 statement of the elements thereof: this item is set forth in VII.
19 Relief Sought.
20                           VII.   RELIEF SOUGHT
21      Lost Profits/Lost Income/Lost Business Opportunity
22     1. Nevada Water Rights Permit SN 31321, 2000 acre feet
23 $300,000 to $5,000,000
24     A. Water rights have a developed value of $20,000/af
25     B. Cost of development estimated at $10,000/af
26     C. Estimated yield with development only 500 af
27     D. Net value = 500 * $10,000 = $5,000,000
28     E. Delay future revenue 2 years.        Therefore present worth



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 1 difference = 6%*2 years*$5,000,000 = $600,000 total
 2     F. In the alternative, the entire 2000 acre feet of water
 3 rights are denied by the Nevada Division of Water Resources
 4 because the water is not put to beneficial use as required by
 5 Nevada Law due to actions of plaintiff limiting partnership
 6 resources and conduct.     Damage = $5,000,000
 7     2. Cold Springs mini-warehouse development $43,200
 8     A. Yield 100+ 100 sf avg units = 10,000 sf total
 9     B. Delay future revenue 2 years.        Therefore present worth
10 difference = 2*10,000*$1/sf*0.9*12months*20%profit=$86,400 total
11     3. Grass Valley Avenue Industrial/Office Development new
12 building $12,150
13     A. Yield 9,000 sf industrial office bldg.
14     B. Estimated land & development cost = $700,000.
15     C. Delayed lease revenue by 2 years.         Therefore present
16 worth difference = 2*9,000*$0.5/sf*0.9*12months*25%profit=
17 $24,300 total
18     4. Miscellaneous Lost Income due to Interference with the
19 Reasonable Value of the Rental Units due to Plaintiffs’ Side
20 Deals, Undesirables, and Plaintiffs making deals at Below Market
21 Rent, Damages of $10,000/yr x 3 year = $30,000.
22     5. Plaintiffs’ interference in Defendants’ personal
23 engineering and invention business due to Plaintiffs’ defamation,
24 obstruction, and breaches of contract of partnership agreement.
25 Damages computed as estimate of over 200 hours x 3 years of lost
26 production of $100/hr = $60,000.
27     6. Distributable share of profits in the RV portion of the
28 business



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 1     A. Unknown amount due to lack of accounting and withholding
 2 of documents, estimated amount is 2.5% of revenue for the last
 3 five years
 4     B. Interest at the legal rate thereon to be determined upon
 5 accounting
 6     7. Unaccounted for share of profits for other businesses and
 7 assets
 8     A. Damages associated with unaccounted for share of profits
 9 for other business and assets to be determined upon accounting
10 and determination by the Court, with the legal rate of interest.
11     8. Damages associated with loss of use of properties/assets
12     A. Coan Ranch property road accesses issues resulting in 3+
13 year court case, thousands of hours of time spent, which would
14 not have been necessary had Plaintiffs cooperated with the
15 access.    Damages of lost engineering work, 300 hours x $100/hr =
16 $30,000.
17      Emotional Distress
18     1. Defendants suffered emotional distress damages due to
19 Plaintiffs’ breach of the partnership agreement and defamation.
20 The damages will be determined by the jury, but are estimated at
21 $1,000,000.
22      Medical Costs
23     1. Medical costs are $5,000.
24      Defamation and Defamation Per Se
25     1. Costs to pay phone bill with money orders delivered to
26 AT&T 12x$10 = $ 120
27     2. Lost engineering and related business = $60,000*5 years =
28 $300,000



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 1     3. Damage to reputation and extended family relationships
 2 $TBD
 3     4. Emotional distress damages
 4     5. Punitive damages estimated at $5,000,000 - $10,000,000
 5     6. Other damages proved at trial
 6        Punitive Damages
 7     1. Defendants suffered punitive damages due to Plaintiffs’
 8 breach of the partnership agreement and defamation.         The damages
 9 will be determined by the jury, but are estimated at $1,000,000.
10        Compensatory Damages
11     1. Compensatory damages for which Plaintiffs are liable are
12 computed based on Defendants’ lost personal items, loss of
13 memorabilia, possible damage to vehicle, and loss of use of
14 vehicle, loss of electronic equipment including storage devices,
15 costs relating to the impounding and retrieval of cattle, damages
16 estimated at $10,000.
17        Costs of Litigation and Attorney’s Fees
18     1. Damages are being presently incurred.
19        Conspiracy
20     1. Damages associated with Plaintiffs’ conspiracy to harm
21 defendants through various courses of conduct subject to proof at
22 trial and determination by the jury.
23        Such other damages as the Court or jury may award, including
24 statutory damages.
25        Total Estimated of Computation of Damages: $7,000,000 to
26 $15,000,000.
27        Other Relief Sought:
28     1. On Defendants’ first claim for relief:



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 1     A. For declaratory relief regarding the existence and limits
 2 of a partnership;
 3     2. On Defendants’ second claim for relief:
 4     A. That Plaintiffs compensate Defendants for lost rents,
 5 profits, and business value;
 6     B. That Defendants be entitled to continue a sub-portion or
 7 all of the relevant businesses of the partnership with the
 8 related assets based upon an equitable accounting;
 9     3. On Defendants’ third claim for relief:
10     A. That Plaintiffs be required to mitigate as may be
11 practical the defamation utterances as well that Defendants are
12 entitled to punitive and compensatory damages;
13     4. On all claims for relief:
14     A. That Plaintiffs take nothing by way of their complaint;
15     B. For a determination rendered according to the rights of
16 the parties;
17     C. For affirmative relief;
18     D. For statutory penalties;
19     E. For general, special, exemplary, pecuniary, compensatory,
20 and punitive damages, according to proof and in an amount in
21 excess of $75,000.00;
22     F. For prejudgment interest; and
23     G. For such other and further relief as the Court may deem
24 just and proper.
25                          VIII.   POINTS OF LAW
26      Counterclaim for Declaratory Relief: Federal Rules of Civil
27 Procedure, Rule 57 Declaratory Judgment supports this Court
28 issuing a declaratory judgment.       Pursuant to that rule “The



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 1 existence of another adequate remedy does not preclude a
 2 declaratory judgment that is otherwise appropriate. The court may
 3 order a speedy hearing of a declaratory-judgment action.”            See
 4 also 28 U.S.C. § 2201 (Declaratory Judgment Act).
 5
 6      Counterclaim for Breach of Partnership Agreement: “Uniform
 7 Partnership Act of 1994” as adopted by California including the
 8 latest applicable revisions and older related versions. Also
 9 relevant at times is 1914 Uniform Partnership act as adopted by
10 California (with updates).      California Corporation Code Chapter
11 5, Sections 16100 through 16962.       Further California Corporation
12 Code Section 16111(b) sets forth that “On and after January 1,
13 1999, this chapter governs all partnerships.”         The California
14 Uniform Partnership Acts impose obligations and duties for
15 dealings among the partners including dealing fairly and in good
16 faith, fiduciary duty, not competing or excluding or precluding
17 partners from the right to participate in the control and
18 management of the partnership, and a duty of loyalty.          Relevant
19 here is also Nevada Revised Statues (“NRS”) Chapter 87,
20 Partnerships.
21
22      Counterclaim for Defamation and Defamation Per Se: The
23 following California Civil Jury Instructions will reasonably be
24 expected:
25             California Civil Jury Instructions (CACI) 1702.
26             Defamation per se—Essential Factual Elements (Private
27             Figure—Matter of Public Concern)
28



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 1              California Civil Jury Instructions (CACI) 1704.
 2              Defamation per se—Essential Factual Elements (Private
 3              Figure—Matter of Private Concern)
 4
 5              California Civil Jury Instructions (CACI) 1705.
 6              Defamation per quod—Essential Factual Elements (Private
 7              Figure—Matter of Private Concern)
 8
 9                           IX.    ABANDONED ISSUES
10      None.
11                                 X.   WITNESSES
12      Witness list attached hereto.
13                 XI.   EXHIBITS – SCHEDULES AND SUMMARIES
14      Exhibit list attached hereto.
15                         XII.    DISCOVERY DOCUMENTS
16     1. Request for Admissions from Michael J. DeMartini to
17 Timothy P. DeMartini, Set One, 11/18/16.
18     2. Response by Timothy DeMartini to RFA’s Propounded by
19 Michael DeMartini Set One, 12/17/16
20     3. Request for Admissions from Michael J. DeMartini to
21 Timothy P. DeMartini, Set Two, 12/28/16.
22     4. Response by Timothy DeMartini to Requests for Admissions
23 Propounded by Michael DeMartini Set Two, 1/26/17.
24     5. Request for Production of Documents Under Rule 34 from
25 Michael J. DeMartini to Timothy P. DeMartini, Set One, 1/23/17.
26     6. Response by Timothy DeMartini to Demand to produce
27 Documents Propounded by Michael DeMartini set one, 2/22/17.
28     7. Request for Admissions from Renate DeMartini to Timothy



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 1 P. DeMartini, Set One, 9/29/16.
 2     8. 7. Request for Admissions from Renate DeMartini to Margie
 3 DeMartini, Set One, 9/29/16.
 4     9. Response by Margie DeMartini to Requests for Admissions
 5 Propounded by Renate DeMartini Set One, 10/27/16.
 6    10. Response by Timothy DeMartini to Requests for Admissions
 7 Propounded by Renate DeMartini Set One, 10/27/16.
 8    11. First Set of Interrogatories from Michael J. DeMartini to
 9 Timothy P. DeMartini, 12/23/16.
10    12. Response by Timothy DeMartini to Interrogatories
11 Propounded by Michael DeMartini Set One, 1/21/17.
12    13. 02/14/17 Deposition of Gregory Baerresen w/ Exhibits
13    14. 11/16/16 Deposition of Sheri Gailbreath
14 (Transcript/Audiovisual) w/ Exhibits
15    15. 10/13/16 Deposition of Jon H. DeMartini
16 (Transcript/Audiovisual) w/ Exhibits
17    16. 10/21/16 Deposition of Pete Massett
18 (Transcript/Audiovisual) w/ Exhibits
19    17. 1/12/17 Deposition of Margie DeMartini w/ Exhibits
20    18. 2/21/17 Deposition of Timothy DeMartini w/ Exhibits
21    19. 11/17/16 Deposition of Mark DeMartini
22 (Transcript/Audiovisual) w/ Exhibits
23    20. 11/17/16 Deposition of Preston Williams
24 (Transcript/Audiovisual) w/ Exhibits
25                 XIII.   FURTHER DISCOVERY OR MOTIONS
26      Plaintiffs refuse to provide or furnish access to the
27 partnership books, records, and information pursuant to
28 California Corporations Code §§ 16403(a) – 16403(c), irregardless



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 1 of any discovery request.      In regards to partnership information
 2 Plaintiffs have an affirmative duty to provide a partner with
 3 access and to separately furnish certain other information to a
 4 partner “without demand” and “on demand.”         Plaintiffs refuse to
 5 provide or furnish as required, but still must do so.
 6      This Court’s present order requires Defendants to make a
 7 showing of good cause prior to the issuance of a subpoena. ECF
 8 No. 116.   During the case defendants have had great difficulty
 9 where plaintiffs or plaintiffs’ agents thwarted service of
10 process by refusing to allow service agents to enter facilities
11 or property and/or service ultimately being unsuccessful after
12 thirteen attempts by a licensed processed server (even on
13 plaintiffs’ agent and plaintiffs’ disclosed witness).          Defendants
14 may need assistance from the United States Marshals to effectuate
15 service on witnesses related to plaintiffs.
16                            XIV.    STIPULATIONS
17      None at this time.
18                      XV.   AMENDMENTS – DISMISSALS
19      None at this time.
20                     XVI.   SETTLEMENT NEGOTIATIONS
21      Settlement negotiations and a court settlement conference
22 under L.R. 270 would be helpful.
23                        XVII.      AGREED STATEMENT
24      Plaintiffs state that both attorneys for plaintiffs “will be
25 unavailable on September 15 due to pre-paid vacations.”
26 Defendants have been inquiring of plaintiffs since at least
27 August 17, 2017 as to “Regarding Eastern District of California
28 Case 2:14-CV-02722-JAM-CKD, who is handling or responsible for



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 1 meet and confers and the pre-trial conference.”           As of September
 2 1, 2017 defendants have no record of receiving any response
 3 whatsoever.
 4                  XVIII.     SEPARATE TRIAL OF ISSUES
 5      Separate trial of Defendants’ first counterclaim for
 6 declaratory relief appears feasible.
 7          XIX.   IMPARTIAL EXPERTS – LIMITATIONS OF EXPERTS
 8      The parties experts should be limited to those experts that
 9 were disclosed in compliance with Rule 26(a)(2) and the September
10 3, 2015 Status (Pretrial Scheduling) Order its’ modifications.
11 Only one of Plaintiffs’ five experts, appraiser Daniel Ketcham,
12 even begins to meet the requirements.        Plaintiffs’ other four
13 experts failed to provide the required written reports.
14 Defendants’ disclosed only two experts which are both in
15 compliance with Rule 26(a)(2) and the scheduling order: Michael
16 DeMartini and Matthew DeMartini.
17                           XX.    ATTORNEYS’ FEES
18      Plaintiffs should be responsible for plaintiffs attorneys’
19 fees based on plaintiffs’ wrongful conduct breaching the
20 partnership agreement. Plaintiffs did not utilize the statutory
21 dissolution procedures.
22                           XXI.   TRIAL EXHIBITS
23      Defendants propose exhibits offered or admitted at trial be
24 allowed to be received electronically and/or filed under seal as
25 may be warranted.
26                     XXII.   TRIAL PROTECTIVE ORDER
27      None at this time.
28                         XXIII.    MISCELLANEOUS



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 1        None at this time.
 2
     Dated: September 1, 2017
 3                                   /s/ Michael J. DeMartini
 4                                   Michael J. DeMartini, pro se
     Dated: September 1, 2017
 5                                   /s/ Renate DeMartini
                                     Renate DeMartini, pro se
 6
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                       DEFENDANTS’ PRETRIAL STATEMENT - 24
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 1                          UNITED STATES DISTRICT COURT
 2                   FOR THE EASTERN DISTRICT OF CALIFORNIA
 3
     TIMOTHY P. DEMARTINI, et al,      Case No.: 2:14-CV-02722-JAM-CKD
 4
                    Plaintiffs,        CERTIFICATE OF SERVICE
 5
                       v.
 6
     MICHAEL J. DEMARTINI, et al,
 7
                    Defendants.
 8
 9        On today’s date I served true and correct copy(ies) of the
          following document(s):
10
        DEFENDANTS’ PRETRIAL STATEMENT
11
12  XXX      By CM/ECF Notice of Electronic Filing: I electronically
   filed the document(s) with the Court by using the CM/ECF system.
13 Participants in the case who are registered CM/ECF users will be
14 served by the CM/ECF system.
15        Peter Kleinbrodt                 Kirk Rimmer
          1108 Fifth Avenue, FL 3          112 J Street, Ste 300
16        San Rafael, CA 94901             Sacramento, CA 95814
17
        I declare under penalty of perjury under the laws of the
18 United States of America that the foregoing is true and correct
   to the best of my knowledge.
19
        Executed on September 1, 2017 at Reno, Nevada,
20
                                       /s/ Michael J. DeMartini
21                                    Michael J. DeMartini

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                       DEFENDANTS’ PRETRIAL STATEMENT - 25
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 1                               WITNESS LIST (X)
 2      Defendants anticipate calling the following witnesses:
 3   1. Curt Chittock, 12892 Ridge Rd, Grass Valley, CA
 4   2. Richard Cook, 555 Riverview Dr, Auburn, CA
 5   3. Daniel J. DeMartini, 15431 Monte Vista Dr, Nevada City, CA
 6   4. David A. DeMartini, 10645 James Lane, Nevada City, CA
 7   5. James (Jim) C. DeMartini, 947 Lochness Ct, Fort Collins, CO
 8   6. Jon H. DeMartini, 11985 Red Gate Rd, Nevada City, CA
 9   7. Laurie DeMartini, 12191 Jones Bar Rd, Nevada City, CA
10   8. Margie DeMartini, 13278 Newtown Rd, Nevada City, CA
11   9. Mark A. DeMartini, 12191 Jones Bar Rd, Nevada City, CA
12   10. Renate DeMartini, 3362 Meridian Ct, Reno, NV 89509
13   11. Timothy J. DeMartini, 13931 Oak Meadow Rd, Penn Valley, CA
14   12. Timothy P. DeMartini, 13278 Newtown Rd, Nevada City, CA
15   13. Richard Hawkins, 563 Brunswick Rd #2, Grass Valley, CA
16   14. Newell Humpherys, 10642 James Lane, Nevada City, CA
17   15. Susan K. McGuire, PO Box 1715, Nevada City, CA
18   16. Kevin Parker, 625 Idaho Maryland Rd, Grass Valley, CA
19   17. Greg Baerreson, 12731 Loma Rica Dr #G, Grass Valley, CA
20   18. Jim Gates, 12515 Personeni Lane, Nevada City, CA
21   19. Bill Divis, 12731 Loma Rica Dr #D, Grass Valley, CA
22   20. Douglas Johnson, 1281 Terminal Way #108, Reno, NV
23   21. Mark Cunningham, 2141 Mission Street #100, San Francisco,
24      CA
25   22. E. Shephard, 12757 Loma Rica Dr, Grass Valley, CA
26   23. Andy Cassano, 505 Coyote St, Suite B, Nevada City
27   24. A person most knowledgeable from Westamerica Bank, 375
28      Brunswick Rd, Grass Valley, CA 95945



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 1   25. Nevada County Sheriff's Office (Deputy Johnson), 950 Maidu
 2      Ave, Nevada City, CA
 3   26. Walp & Associates (Sheri Gailbreath), 125 Bost Ave, Nevada
 4      City, CA 95959
 5   27. Michael DeMartini, 3362 Meridian Ct, Reno, NV 89509
 6   28. Michael DeMartini (designated as expert), 3362 Meridian
 7      Ct, Reno, NV 89509
 8   29. Matthew DeMartini, 1129 Hunter Lake Dr Ste 4, Reno, NV
 9   30. Matthew DeMartini (designated as expert), 1129 Hunter Lake
10      Dr Ste 4, Reno, NV
11   31. A person most knowledgeable from Vossloh Signaling, Inc.,
12      P.O. Box 600, 12799 Loma Rica Dr, Grass Valley, CA
13   32. Advanced Towing, Inc (Ryan Condon, Chuck Collins), 319
14      Railroad Ave, Grass Valley, CA
15   33. John Bilheimer, 505 Coyote St. Suite A, Nevada City, CA
16   34. Preston Williams, 12731 Loma Rica Dr #A, Grass Valley, CA
17   35. Pete Massett, 12731 Loma Rica Dr #E, Grass Valley, CA
18   36. Scott Brown, 131 S Auburn St, Grass Valley, CA
19   37. Mark Gilmartin, 1534 17th Street, Suite 103, Santa Monica,
20      CA
21
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 1                   EXHIBITS, SCHEDULES AND SUMMARIES (XI)
 2       Defendants intend to introduce the following exhibits:
 3
 4   ECF Doc/   Ref Date                 Document or
 5   Source                            Item Description
 6     40-3     04/29/15 Declaration of Timothy P. DeMartini w/
 7                         Ex. A-S
 8
       46-2     06/03/15 Transcript Excerpt from deposition of
 9
                           Timothy P. DeMartini August 9, 2010
10
       46-4     06/03/15 Copy of $2,000 discovery sanctions
11
                           check signed by Timothy P. DeMartini
12
       46-5     06/03/15 Joint Stipulation regarding Discovery
13
14     46-6     06/03/15 Register of Actions report, Marin

15                         County Superior Court

16     46-7     06/03/15 Joint Stipulation regarding Discovery
17
       46-8     06/03/15 Michael DeMartini Notes re. Agreement
18
                           with Timothy DeMartini
19
     47-main    06/03/15 Matthew DeMartini Declaration
20
     48-main    06/03/15 Michael DeMartini Declaration
21
22     48-1     02/25/98 Fax to WestAmerica Bank to Brian

23                         Kendeff

24     48-2     05/15/98 Deed of Trust for WestAmerica Bank

25     48-3     05/15/98 Deed of Trust for WestAmerica Bank
26                         Exhibit A
27     48-4     04/01/98 Loan Disbursement Authorization
28



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 1                       $250,000 principal
 2
     48-5     02/25/98 Nevada County Building Permit Receipt
 3
                         $252,000 /pValuation with Attachments
 4
     48-6     03/17/14 Letter from Peter H. Cuttitta
 5
                         regarding WestAmerica Bank Loan
 6
     48-7     05/07/15 DeMartini Brothers Construction Co.
 7
                         Income by Customer Detail 2002 to 2014
 8
 9   48-8     09/15/14 Fax from Susan K. McGuire regarding

10                       Temporary Restraining Order

11   48-9     08/01/75 Check No 120 for $450.00 to Timothy

12                       DeMartini, Gold County Bank front and

13                       back w/ the back of another check to

14                       show the check stamp.

15   48-10    08/15/74 Nevada County Parcel Map 133 (the Coan
16                       Ranch)
17   48-11    10/07/76 Copy of letters received back from
18                       Paul C. DeMartini with his signatures
19                       accepting offers for the Coan Ranch
20                       property
21
     48-12    12/08/75 Grant Deed to Michael and Renate
22
                         DeMartini, file no 25096 re. Coan
23
                         Ranch
24
     48-12    12/08/75 Grant Deed to Timothy and Margie
25
                         DeMartini, file no 25094 re. Coan
26
                         Ranch Note: Document altered
27
28



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 1   48-12    12/08/75 Grant Deed to Timothy and Margie
 2                       DeMartini, file no 25094 re. Coan
 3                       Ranch
 4   48-13    04/09/77 Copy of Coan Ranch Survey Field Notes
 5                       cover sheet, MJD & TD
 6
     48-14    07/20/77 Check No 282 for $560.00 to DeMartini
 7
                         Company, Gold County Bank front and
 8
                         back
 9
     48-15    07/26/77 Structural Calcs, Gene S. Porter, Inc.
10
                         2 pages
11
     48-16    07/15/77 VP Building Fabrication Shipping List
12
13   48-17    03/02/79 1978 DeMartini & Sons Income Tax

14                       documents, 10 pages

15   48-18    04/25/78 Check No 376 for $5000.00 to DeMartini
16                       Company, Gold County Bank front and
17                       back
18   48-21    12/10/85 Lease Agreement - Design Build, Fuel
19                       Harvesters, Inc. and Michael J.
20                       DeMartini & Timothy P. DeMartini, a
21                       general partnership
22
     48-22    03/01/84 Development Plan, Air Park Equipment
23
                         Shop, Sheet DP-1. Engineer, Mjichael
24
                         J. DeMartini
25
     48-23    01/15/92 Lease Agreement, Diablo Manufacturing,
26
                         Inc. and Michael and Timothy
27
                         DeMartini, a general partnership,
28



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 1
 2                       faxed by DeMartini RV Sales on March

 3                       30, 1998 to Michael DeMartini

 4
     48-24    06/15/98 Lease Agreement, Diablo Manufacturing,
 5
                         Inc. and Michael and Timothy
 6
                         DeMartini, a general partnership
 7
 8   48-25    09/28/98 Lease Agreement - Design Build ,

 9                       Electronic Carbide Process and Michael

10                       J. DeMartini & Timothy P. DeMartini, a

11                       general partnership

12   48-26    10/09/08 Settlement Agreement and Mutual
13                       Release, Electric Carbide, Inc., et al
14                       and DeMartini Brothers Construction,
15                       et al, 12757 Loma Roica Drive, Grass
16                       Valley, CA 95945
17   48-27    10/09/08 Fax dated August 29, 2018 from
18                       DeMartini RV Sales to Michael
19                       DeMartini from Tim & Margie -2 pages
20                       and Fax Jurnal Report showing that fax
21                       was received on October 9, 2008.
22   48-28    11/01/06 Proof of Publication of Fictitious
23                       Business Names, 0610895 Endorsed by
24                       Sacramento County, CA, DeMartini
25                       Brothers Construction and DeMartini &
26                       Sons
27
28



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 1   48-29    05/05/14 Proof of Publication of Fictitious
 2                       Business Names, FBNF2014-02266
 3                       Endorsed by Sacramento County, CA,
 4                       DeMartini Brothers Construction and
 5                       DeMartini & Sons
 6   48-30    01/28/14 WestAmerica Bank Star Connect Plus for
 7                       Business, Accounts xxxx795-1 and
 8                       xxxx930-4 General Partnership Accounts
 9
     48-31    09/15/14 Email from partner Michael to
10
                         Tim@demartini.com regarding
11
                         WestAmerica Bank Account
12
     48-32    08/27/14 Nevada County Sheriffs Office Activity
13
                         Log with highlight box
14
     48-33    06/05/14 Email to Tim@demartini.com from
15
                         partner Michael regarding Fire Alarm
16
                         Phone Bills, Partnership Business
17
     48-34    08/05/14 Fax dated August 5, 2014 from Michael
18
                         DeMartini to Timothy DeMartini Re.
19
                         WestAmerica Account
20
21   48-35    08/11/14 Email from Timothy A. Stanfield of

22                       AT&T to Michael, mdcorres@gmail.com

23                       regarding returned payment

24   48-36    08/26/14 Email thread between Susan K. McGuire

25                       and Michael DeMartini regarding AT&T

26                       telephone account and the partnership,

27                       2 pages

28



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 1   48-37    08/04/11 Misc documents regarding San Anselmo a
 2                       San Anselmo property that Timothy and
 3                       I were owners
 4   48-38    08/29/14 Photo taken by Michael DeMartini of
 5                       label on bale of building insulation
 6                       shipped to DeMartini Brothers
 7                       (Construction)
 8
     48-39    11/15/78 Grant Deed to DeMartini & Sons, 12731
 9
                         Loma Rica Drive, File No. 34526 Nevada
10
                         County California, 1 page
11
     48-39    11/15/78 Deed of Trust to Bank of America,
12
                         12731 Loma Rica Drive, File No. 34527
13
                         Nevada County California, 3 pages
14
     48-40    07/24/14 Fax dated July 24, 2014 to Timothy
15
                         DeMartini from Michael DeMartini
16
                         regarding Loma Rica 12759 and 12731 A
17
                         to H
18
     48-41    08/01/14 Email to Tim@demartini.com from
19
                         partner Michael regarding occupation
20
                         of 12759 Loma Rica Dr., Grass Valley,
21
                         CA
22
23   48-42    08/23/14 Photo P1030203 taken by Michael

24                       DeMartini of window building at 12759

25                       Loma Rica Dr., Grass Valley, CA

26   48-43    08/27/14 Four Misc photos taken by Michael

27                       DeMartini on August 27, 2014 at 12759

28                       Loma Rica Dr., Grass Valley, CA



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 1    114-1    11/10/16 Exhibits A-C to Pleading Opp to Quash
 2
     49-main   06/03/15 DECLARATION of Renate DeMartini in
 3
                         OPPOSITION TO Motion to Compel
 4
                         counter-claimants to post security for
 5
                         costs.
 6
               08/09/10 Deposition of Timothy P. DeMartini.
 7
                         (8/9/10 and 8/10/10)
 8
       63      06/29/15 Stipulation and Order for return of
 9
                         bond with interest .
10
11    87-1     11/04/15 Exhibit A-H to the Declaration of

12                       Michael J. DeMartini

13     104     07/18/16 Exhibit A-G to the Second Amended

14                       Answer and Counterclaims

15    109-2    11/08/16 Exhibit H to the Decl. of Christian
16                       Kemos
17    129-1    11/29/16 Exhibit H to the Decl. of Christian
18                       Kemos
19
       137     12/05/16 DECLARATION of Yasmin Quilat
20
       140     12/05/16 Exhibit A to Defendants Statement
21
      147-1    12/12/16 Declaration of Renate DeMartini,
22
      147-2    12/12/16 Declaration of Michael DeMartini
23
24     152     12/16/16 Decl. of Dustin Grate

25     153     12/16/16 Decl. of Bechtold

26     154     12/16/16 Decl. of Doll
27     155     12/16/16 Decl. of Hopkins & Attach. Ex. A
28



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 1    161     12/19/16 DECLARATION of Kirk Rimmer w/ Exh. A-C
 2
      162     12/19/16 Decl. of Timothy DeMartini
 3
      163     12/19/16 REQUEST for JUDICIAL NOTICE w/ Exh. A-
 4
                         E
 5
      166     12/19/16 Decl. of Renate DeMartini
 6
 7    167     12/19/16 Decl. of Michael DeMartini

 8   169-1    12/20/16 Decl. of Renate DeMartini w/ Ex. A

 9    171     12/21/16 Exhibits submitted at hearing
10            12/21/16 Transcript of hearing on TRO
11
     177-1    01/05/17 Decl. of Michael DeMartini w. Ex. A
12
                         and B
13
     180-1    01/13/17 Decl. of Michael DeMartini
14
      181     02/01/17 Motion to Compel
15
     181-1    02/01/17 Declaration of Michael J. DeMartini
16
17    194     02/17/17 NOTICE of Inability to Serve by
18                       Michael J. DeMartini
19    195     02/17/17 Motion to Amend 195,195-1,195-2
20   198-3    03/08/17 Ex. A to Motion to Req. Bond
21
              09/01/17 CIVIL DOCKET FOR CASE #: 2:14-cv-
22
                         02722-JAM-CKD
23
     199-1    03/22/17 Decl. of Michael DeMartini w/ Ex. 1-7
24
25    200     03/22/17 Opp. to Req. to Post Bond w/ attached

26                       Decl. of MJD and RBD

27    202     03/24/17 Decl. of K. Rimmer, Decl of T.

28



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 1                       DeMartini. 202-3 – 202-6
 2
      214     05/01/17 F&Rs of Magistrate
 3
      216     05/15/17 Aff.s’ of RBD and MJD 216-2,216-3 w/
 4
                         Ex. A-D,216-4 w/ Ex. A-L
 5
      217     05/15/17 Resp. to F&Rs
 6
 7    219     05/26/17 Req. to File Excerpt w. Decl. of MJD

 8    227     06/01/17 SUPPLEMENTAL DEPOSITION TRANSCRIPT
 9                       EXCERPT
10
      229     06/09/17 RJN w/ Ex. A-B
11
      231     06/13/17 Errata Notice RJN w/ Ex. A-B
12
              05/31/17 Hearing Transcript
13
      245     07/10/17 RJN w/ Attachment
14
15    255     08/29/17 Obj. to F&R w/ Ex. A-B (Bank card +

16                       Balance Sheet/taxes)

17    256     08/30/17 Req. to Seal w/ Ex.

18            08/27/14 Audio Recording (~1:15:25; Voice 006[-
19                       009].m4a)
20                       Evidence Bag w/ F C 9MM LUGER Casing
21
              08/29/17 Westamerica Bank Signature Card
22
              06/08/05 DeMartini Brothers Construction
23
                         (Balance Sheet, Liabilities and
24
                         Equity, Statement of Income, U.S. Form
25
                         1065, Form 4562, CA From 565, CA Form
26
                         3885
27
28



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 1            09/22/16 Email from Kirk Rimmer to M. DeMartini
 2
              08/27/14 Fax from Susan K. McGuire and Emails
 3
 4            07/15/17 Photo of adjacent Loma Rica parcel

 5   52-2     06/10/15 Decl. of Timothy w/ Ex. G-H

 6    225     06/01/17 Pl.s’ Second amended complaint
 7            03/01/13 Fax dated March 1, 2013 from Ms.
 8                        McGuire
 9
                Misc      demartinirv.com website archives
10
              05/04/99 Letter to Patrick Norman
11
              06/21/04 Email from John Baker to Michael
12
                Misc      Mead Notebook Air Park Phase II
13
14            04/11/77 Coan Ranch Aerial Photography

15            05/07/77 Pcl 2 of lot 13 plot plan

16            05/30/05 Coan Ranch development plan
17            12/04/06 Computer plot of elevation model
18                        DeMartini RV
19              06/89     Air Park Phase 2 Development Plan
20                        Sheet DP-1
21
                12/97     Air Park Equipment Shop Phase II,
22
                          Details and Structural Notes S-2,
23
                          Foundation Plan S-1
24
                3/98      Warehouse lighting plan Air Park Phase
25
                          II (E1, E2, E3)
26
                01/98     Landscape plan Air Park Manufacturing
27
                          L-1
28



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 1            06/19/05 Site plan, grading plan GP-1, Floor
 2                       plan (3), elevation, parcel map
 3            10/30/90 Tim DeMartini Mike DeMartini Fax
 4
              07/31/92 Financial statements of DeMartini
 5
                         Trust-Thelma
 6
              12/31/88 Financial statements of DeMartini
 7
                         Trust-Thelma
 8
              08/27/14 Photos/videos at airport
 9
              08/29/14 Photos at airport
10
11            06/25/14 Disc. w/ Greg at 12731 Loma Rica

12            12/01/16 Emails with Rimmer Re: Explosion

13                       @12731 Loma Rica

14            12/05/16 Email with Rimmer Re: Explosion @12731
15                       Loma Rica
16            12/13/16 Emails with Fire Marshal re fire ball
17
              12/01/16 Video of explosion @12731 Loma Rica
18
19            12/01/16 Facebook website screenshots and

20                       downloads re, 12731 Loma Rica

21                       (Williams)

22            09/12/16 Photos at Air Park Buildings/Vicinity
23
              10/11/16 Audio of meeting with Advanced Towing,
24
                         Inc
25
              05/12/14 Correspondence between Michael and
26
                         Timothy Re: development of property
27
              09/01/13 Email from Timothy to others re:
28



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 1                       electrical
 2
              03/17/14 Correspondence from Timothy refusal
 3
                         re: loan
 4
              05/01/14 Correspondence from Timothy will not
 5
                         communicate
 6
              05/11/14 Email from Timothy to other re:
 7
                         management
 8
 9            05/12/14 Timothy correspondence re: communicate

10                       through intermediares

11            06/23/14 Corres. Timothy refusal of check for

12                       loan payment

13            06/27/14 Corres. Timothy refusal to retain
14                       attorney
15            07/18/14 Corres. Timothy refusal of check for
16                       loan payment, letters in unmarked
17                       envelope, partnership matters through
18                       representative
19
              02/22/17 Exhibits from DVD 7 Utilized for
20
                         Timothy Deposition, w/ Preston related
21
                         files
22
              05/07/15 Doc. From discovery:
23
                         20150507_QuickBooksIncome12757-
24
                         61LomaRica.pdf
25
              04/15/92 Doc. From discovery:
26
                         19920415_DBC_IncomeTaxes1991.pdf
27
              04/15/87 Doc. From discovery:
28



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 1                       19870415_DBC_IncomeTaxes1986.pdf
 2
              04/15/87 Doc. From discovery:
 3
                         19870415_DBC_Accounting1986.pdf
 4
              06/23/14 Doc. From discovery:
 5
                         20140623_EmailsToTim2014ToDateReAirpor
 6
                         t.pdf
 7
              07/21/98 Doc. From discovery: 19980721apsite
 8
                         Layout1 (1).pdf
 9
10            10/15/14 Doc. From discovery: MDVideos20141015

11                       (folder)

12            10/13/14 Doc. From discovery: MDPhotos20141013-

13                       15 (folder)

14            10/15/14 Doc. From discovery: 20141015 (folder)
15                       .exe Video Viewer from Security
16                       Footage
17            06/18/14 Doc. From discovery:
18                       FAXS20140618_143134_0001.tif
19
                Note     Defendants picked out the best they
20
                         could exhibits from discovery DVD 1-7
21
                         that was previously produced to
22
                         Plaintiffs. Plaintiffs haven’t
23
                         meet/conferred yet regarding pretrial
24
                         and they area that Plaintiffs intend
25
                         to focus on, and this case has an
26
                         extensive 40 year history.
27
28



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